Case 2:18-cv-03893-RGK-AGR Document 61 Filed 03/19/19 Page 1 of 10 Page ID #:470




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 14                        UNITED STATES DISTRICT COURT
 15           CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
 16
       Edwardo Munoz, individually and on
 17    behalf of all others similarly situated, Case No. 2:18-cv-03893-RGK-AGR
 18
                               Plaintiff,       PLAINTIFF’S NOTICE OF
 19                                             MOTION AND MOTION FOR
         v.                                     REVIEW OF MAGISTRATE
 20                                             JUDGE’S MINUTE ORDER
                                                (DKT. 56)
 21    7-Eleven, Inc., a Texas corporation,
 22                                             [Filed concurrently with [Proposed]
                               Defendant.       Order]
 23
                                                Date: April 22, 2019
 24                                             Time: 9:00 a.m.
 25                                             Judge: Hon. R. Gary Klausner
                                                Place: Courtroom 850
 26                                              Complaint Filed: May 9, 2018
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Case 2:18-cv-03893-RGK-AGR Document 61 Filed 03/19/19 Page 2 of 10 Page ID #:471




  1         PLEASE TAKE NOTICE that on April 22, 2019, at 9:00 a.m. at the United
  2   States District Court for the Central District of California, Plaintiff Edwardo Munoz
  3   (“Plaintiff” or “Munoz”) will and hereby does move before the Honorable R. Gary
  4   Klausner for review of and an order reversing Magistrate Judge Alicia G.
  5   Rosenberg’s Minute Order Re: Further Order on Telephonic Discovery Conference.
  6   (Dkt. 56.)
  7         This motion is made pursuant to Federal Rule of Civil Procedure 72(a) and
  8   Central District of California Local Rule 72-2.1. As explained in the accompanying
  9   Memorandum, the Magistrate Judge’s denial of Plaintiff’s discovery request is
 10   based on a state privacy concern that does not apply to the present action—a case of
 11   federal question jurisdiction in which the classes have already been certified. At this
 12   stage, disclosure of class member contact information does not implicate the
 13   privacy concerns of pre-certification discovery. Further, disclosure of this
 14   information to Plaintiff’s counsel will not burden 7-Eleven.
 15         This motion is based on this Notice of Motion, the attached Memorandum of
 16   Points and Authorities, the pleadings and papers on file herein, and such other
 17   materials as may be presented to the Court at the time of the hearing.
 18
 19                                          Respectfully submitted,
 20   Dated: March 19, 2019                  Edwardo Munoz, individually and on behalf
 21                                          of all others similarly situated,
 22                                          By: /s/ Patrick H. Peluso
                                             One of Plaintiff’s Attorneys
 23
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                       PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR REVIEW
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Case 2:18-cv-03893-RGK-AGR Document 61 Filed 03/19/19 Page 3 of 10 Page ID #:472




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                    PLAINTIFF’S NOTICE OF MOTION AND MOTION FOR REVIEW
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Case 2:18-cv-03893-RGK-AGR Document 61 Filed 03/19/19 Page 4 of 10 Page ID #:473




  1                MEMORANDUM OF POINTS AND AUTHORITIES
  2   I.    INTRODUCTION
  3         The Court should reverse Magistrate Judge Rosenberg’s Minute Order
  4   denying Plaintiff’s request that Defendant 7-Eleven, Inc. (“Defendant” or “7-
  5   Eleven”) provide class member contact information to his counsel. In her Minute
  6   Order, Magistrate Judge Rosenberg cites to the “burden” that Belaire-West notice
  7   would present as disproportionate to the needs of the case. However, as explained
  8   below, the Belaire-West standard is not implicated by this action. The notice
  9   referred to in the Minute Order is a state court standard for California laws and
 10   cases—the present action is a federal question, brought in federal court, which
 11   seeks relief for applicants nationwide. Further, the Belaire-West notice concern
 12   arises routinely in cases of pre-certification discovery. Here, however, the class and
 13   subclass have been certified. Likewise, because 7-Eleven must compile class
 14   member contact information to provide to the administrator, providing the same
 15   information to Plaintiff’s counsel will impose no burden. Accordingly, Plaintiff
 16   asks the Court to review and ultimately reverse Magistrate Judge Rosenberg’s
 17   Minute Order denying Plaintiff’s request.
 18   II.   ARGUMENT
 19         A.     The Belaire-West Notice Is A State Court Standard Inapplicable
 20                To The Present Action—The Classes Have Been Certified, And
 21                The Claims Present A Federal Question.
 22         In her Minute Order denying Munoz’s request, Judge Rosenberg determined
 23   that the request for class member contact information was “outweighed by the
 24   burden of any Belaire-West notice” that the disclosure would supposedly require.
 25   (Dkt. 56, at 2.) However, the Belaire-West notice standard is a pre-certification,
 26   California state court standard that is inapplicable to the present action. As such,
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Case 2:18-cv-03893-RGK-AGR Document 61 Filed 03/19/19 Page 5 of 10 Page ID #:474




  1   disclosure of the class members contact information does not impose any notice
  2   burden. Thus, the Court should reverse the Magistrate Judge’s Minute Order.
  3            As early as 2007, the California courts recognized that seeking contact
  4   information for potential class members could interfere with their right to privacy,
  5   albeit in a manner less serious than with sensitive information (e.g. medical
  6   history). Pioneer Electronics (USA), Inc. v. Superior Court, 150 P.3d 198, 205 (Cal.
  7   2007). In Belaire-West, the California Court of Appeal reiterated this point, finding
  8   that contact information deserves some privacy protection. Belaire-West
  9   Landscape, Inc. v. Superior Court, 57 Cal.Rptr.3d 197, 202 (Cal. Ct. App. 2007).
 10   However, because contact information is “not particularly sensitive,” providing the
 11   putative class members with written notice and an opportunity to opt-out of the
 12   disclosure is sufficient to protect their privacy. Id. at 203. This notice/opt-out
 13   procedure is what Judge Rosenberg referred to as Belaire-West notice. (See Dkt. 56,
 14   at 2.)
 15            Appropriate as such notice may have been in Pioneer and Belaire-West, it is
 16   inapplicable to the present action as a result of several key distinctions. First, the
 17   right to privacy at issue in Belaire-West is a state privilege—thus, the notice
 18   standard is rooted entirely in California state court and state law proceedings. See
 19   Pioneer, 150 P.3d at 199–200; Belaire-West, 57 Cal.Rptr.3d at 198; Crab Addison,
 20   Inc. v. Superior Court, 87 Cal.Rptr.3d 400, 402 (Cal. Ct. App. 2008). The third-
 21   party privacy rights at issue do not represent a federally-recognized privilege; to the
 22   extent that federal district courts have accepted these privacy rights, they do so as a
 23   matter of applying state laws and privileges when federal jurisdiction is based on
 24   diversity of citizenship. Bright v. Dennis Garberg and Assoc., Inc., No. CV 10-
 25   7933 AHM(JCX), 2011 WL 13150146, at *6 (C.D. Cal. Nov. 15, 2011) (“Third
 26   party privacy is a state recognized privilege applicable in a federal action based on
 27   diversity jurisdiction.”); see also, e.g., Goro v. Flowers Foods, Inc., No. 17-cv-
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                      PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION TO REVIEW
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Case 2:18-cv-03893-RGK-AGR Document 61 Filed 03/19/19 Page 6 of 10 Page ID #:475




  1   02580-JLS-JLB, 2018 WL 3956018, at *2 (S.D. Cal. Aug. 17, 2018); Martin v.
  2   Sysco Corp., No. 1:16-cv-00990-DAD-SAB, 2017 WL 4517819, at *4 (E.D. Cal.
  3   Oct. 10, 2017); Sandres v. Corrections Corp of Am., No. 1:09–cv–01609 OWW
  4   JLT, 2011 WL 475068, at *2 (E.D. Cal. Feb. 4, 2011); Hill v. Eddie Bauer, 242
  5   F.R.D. 556, 562 (C.D. Cal. 2007).
  6         In the present case, state law and state privileges are inappropriate because
  7   Plaintiff’s case is based on federal question jurisdiction. (Am. Compl., dkt. 23 at ¶
  8   10.) Munoz brings this action under the Fair Credit Reporting Act, a federal statute.
  9   (Id.) Further, Plaintiff seeks relief for himself and “[a]ll persons in the United
 10   States” who were subjected to the same unlawful practice by 7-Eleven.1 (Id. ¶ 21.)
 11   Munoz seeks relief in federal court, on behalf of a nationwide class of applicants
 12   and employees, for violation of a federal statute. Accordingly, California’s state
 13   privilege for third-party privacy—and the Belaire-West notice that such privilege
 14   entails—are inapplicable to this case.
 15         Additionally, Plaintiff’s request is distinguishable from the requests made in
 16   Belaire-West and related cases. In both Pioneer and Belaire-West, the request for
 17   contact information was a part of precertification discovery, relating to putative
 18   class members. Pioneer, 150 P.3d at 201; Belaire-West, 57 Cal.Rptr.3d at 198. The
 19   same is true for cases that have followed. See, e.g., Hill, 242 F.R.D. at 563; Crab
 20   Addison, 87 Cal.Rptr.3d at 402; Martin, 2017 WL 4517819, at *3. This distinction
 21   is important because, rather than searching for potential clients or claims, the
 22   contact information Plaintiff seeks is limited to actual class members—the class
 23   and subclass have been certified, which means that the rights of these applicants
 24   will be determined in this case.
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 26     Plaintiff also seeks relief under California law for a subclass of California
      residents. (Am. Compl. ¶ 21.) However, the claim is before the Court as a function
 27   of supplemental jurisdiction—diversity jurisdiction is not implicated. See 28 U.S.C.
 28   § 1367(a).
                     PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION TO REVIEW
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Case 2:18-cv-03893-RGK-AGR Document 61 Filed 03/19/19 Page 7 of 10 Page ID #:476




  1         Unlike the cases in which Belaire-West notice was appropriate to temper
  2   precertification searches for potential claimants, the contact information Plaintiff
  3   seeks will be used to verify class membership and, if necessary, to contact them
  4   regarding relevant information they may possess regarding potential defenses 7-
  5   Eleven may assert. “In a class action, fellow class members are potential percipient
  6   witnesses to alleged illegalities, and it is on that basis that their contact information
  7   becomes relevant.” Williams v. Superior Court, 398 P.3d 69, 80 (Cal. 2017). Even
  8   if the Belaire-West notice standard were appropriate in a federal question case
  9   (which it is not), California courts have recognized that the opt-out notice is not
 10   suitable for a certified class: “a percipient witness’s willingness to participate in
 11   civil discovery has never been considered relevant—witnesses may be compelled to
 12   appear and testify whether they want to or not.” Puerto v. Superior Court, 70
 13   Cal.Rptr.3d 701, 708 (Cal. Ct. App. 2008).
 14         Magistrate Judge Rosenberg’s denial of Munoz’s request on the basis of the
 15   “burden” that Belaire-West notice would create was made in error. The notice is
 16   based on a state-recognized privilege that is inapplicable to this case. Further, even
 17   if it were germane to Plaintiff’s cause of action, the contact information is not
 18   sought for precertification discovery and thus does not warrant Belaire-West notice.
 19   Accordingly, the Court should reverse Judge Rosenberg’s Minute Order denying
 20   disclosure of his fellow class members’ contact information.
 21         B.     Disclosing contact information of the certified classes to Plaintiff
 22                poses no burden to 7-Eleven.
 23         Because Belaire-West notice is not necessary or applicable to the disclosure
 24   that Munoz seeks, there is no identifiable burden to justify denying Plaintiff’s
 25   request. Thus, Judge Rosenberg’s decision to withhold class member contact
 26   information from Plaintiff lacks basis, and it should be reversed.
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                     PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION TO REVIEW
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Case 2:18-cv-03893-RGK-AGR Document 61 Filed 03/19/19 Page 8 of 10 Page ID #:477




  1          As explained above, at this stage in the case, disclosure of class member
  2   identities and contact information to Plaintiff and his counsel does not implicate the
  3   privacy concerns identified in cases like Pioneer and Belaire-West. The Court
  4   certified the classes on October 18, 2018. (Dkt. 43.) Consequently, Plaintiff and his
  5   counsel are responsible for fairly and adequately litigating on behalf of all class
  6   members—currently estimated at tens of thousands of job applicants across the
  7   country. In order to best represent the class, Plaintiff has asked 7-Eleven to provide
  8   contact information for the class members, which will, among other things, enable
  9   the verification of class membership.
 10          Plaintiff’s request creates no burden for 7-Eleven. As a result of the Proposed
 11   Notice Plan,2 7-Eleven is already required to provide contact information for the
 12   class members to the administrator tasked with disseminating notice. In other
 13   words, Plaintiff is merely requesting that 7-Eleven provide to his counsel the same
 14   document that will be provided to the third-party administrator.
 15          Magistrate Judge Rosenberg has provided no meaningful grounds to support
 16   withholding this information from Plaintiff, particularly when it will enable him and
 17   his counsel to better represent and pursue the interests of the class.
 18   III.   CONCLUSION
 19          The Minute Order denying Plaintiff’s request should be reversed. The cited
 20   Belaire-West notice that would supposedly outweigh any need for class member
 21   information is plainly inapplicable to this action, and it is the only justification that
 22   Judge Rosenberg provided in her Order. 7-Eleven has already agreed to provide
 23   such information to the settlement administrator, and providing the same
 24   information to Plaintiff and his counsel will impose no burden on any party.
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       The Proposed Notice Plan was approved by the Court on February 12, 2019. (Dkt.
 28   50.)
                     PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION TO REVIEW
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Case 2:18-cv-03893-RGK-AGR Document 61 Filed 03/19/19 Page 9 of 10 Page ID #:478




  1   Accordingly, the Court should reverse the Minute Order, grant Plaintiff’s request,
  2   and award any such relief as it deems necessary and just.
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  4                                         Respectfully Submitted,
  5                                         EDWARDO MUNOZ, individually and on
  6                                         behalf of all others similarly situated,
  7
      Dated: March 19, 2019                 By: ___/s/ Patrick H. Peluso
  8                                                One of Plaintiff’s Attorneys
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                    PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION TO REVIEW
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Case 2:18-cv-03893-RGK-AGR Document 61 Filed 03/19/19 Page 10 of 10 Page ID #:479




  1                           CERTIFICATE OF SERVICE
  2         The undersigned hereby certifies that a true and correct copy of the above
  3   titled document was served upon counsel of record by filing such papers via the
  4   Court’s ECF system on March 19, 2019.
  5                                         /s/ Patrick H. Peluso
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                    PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION TO REVIEW
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